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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)


    DEBTORS’ NOTICE OF DEPOSITION TO NEIL A. AUGUSTINE IN CONNECTION
      WITH THE OBJECTION OF THE AD HOC GROUP OF FREEDOM LENDERS
                TO DEBTORS’ BIDDING PROCEDURES MOTION

             PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 26 and 30

(the “Federal Rules”), made applicable by Rules 7026, 7030, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) the Debtors, by and through their undersigned

counsel, in connection with the Objection of the Ad Hoc Group of Freedom Lenders to Debtors’

Bidding Procedures Motion [Docket No. 275], will take the deposition upon oral examination of



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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home and Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight
      Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s
      Franchising and Licensing, LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco
      V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123);
      Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168),
      Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe
      Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470),
      Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC
      (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
      Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
      Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise
      Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation
      Court, Suite J, Delaware, Ohio 43015.
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Neil A. Augustine at the offices of Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New

York, New York 10019, commencing on December 9, 2024 at 9:00 a.m. (ET), or at such other

time and place as counsel for the parties may mutually agree.

       PLEASE TAKE FURTHER NOTICE that, the deposition will proceed before an officer

authorized by law to administer oaths, will be recorded by audio, video, and/or stenographic

means, and will continue from day to day until completed. The deposition will be taken for all

purposes permitted by the Federal Rules, the Bankruptcy Rules, and the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware. The

deposition is being taken for discovery, for use at any evidentiary hearing or trial, or for any

purposes that are permitted by law or under the rules of this Court.

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Dated: December 2, 2024
       New York, New York


                                WILLKIE FARR & GALLAGHER LLP

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                                Proposed Co-Counsel to the Debtors
                                and Debtors in Possession




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